                        Case 3:11-cv-04137-LB Document 89 Filed 02/04/16 Page 1 of 2


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                     SAN RAMON POLICE DEPARTMENT, CHIEF SCOTT
                 7   HOLDER, CITY OF SAN RAMON, OFFICER PAUL BURKE,
                     OFFICER JOSEPH NUNN, OFFICER T J REEDER, OFFICER
Q..              8   JONATHAN STEPHENS and OFFICER STANLEY SZETO
....J
....J
IX               9
til
::c                                                  UNITED STATES DISTRICT COURT
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Cll
~                                                   NORTHERN DISTRICT OF CALIFORNIA
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IX     · "'
o;::::.:-;           JORDAN EDWARD BRANSCUM,                           Case No. C11-04137 LB
CC<~~           13
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>-E-u ~                              Plaintiff,                       STIPULATION AND [PROPOSED]
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tilc:n::JC>     14                                                    ORDER TO DISMISS ENTIRE ACTION,
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!-Ul.J "                     vs.                                      WITH PREJUDICE PER FRCP 41(a)(2)
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....Jc::;:::Z   15
rllQ        0
  • f- ..; :c        SAN RAMON POLICE DEPARTMENT et                    Judge:        Hon. Laurel Beeler
>-E-eoC.
f-o<NUl
!-      V"I.J
                16   al.
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til     of-
Cll     c:l     17                   Defendants.
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IX              19           The parties, by and through their respective attorneys of record, hereby stipulate and
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zu              20   jointly request an Order from the Court to a dismissal of this entire action, with prejudice, in
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                21   light of settlement of this action.

                22            WHEREAS, Plaintiff hereby agrees to voluntarily dismiss, with prejudice, all of his

                23   claims for damages against Defendants, as against all Defendants, as alleged in Plaintiffs First

                24   Amended Complaint, filed in this matter. This dismissal would be a dismissal for the entire

                25   action, against all parties, with prejudice.

                26           WHEREAS, each party agrees to bear its own fees and costs as to this dismissal.

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                28           Ill

                     STIPULATION AND ORDER TO DISMISS ENTIRE ACTION
                     WITH PREJUDICE- Cll-04137 LB
                                  Case 3:11-cv-04137-LB Document 89 Filed 02/04/16 Page 2 of 2


                           1           The parties attest that concurrence in the filing of these documents has been obtained from

                           2   each of the other Signatories, which shall serve in lieu of their signatures on the document.

                           3           SO STIPULATED.

                          4
                               Dated: February 3, 2016                LAW OFFICES OF PANOS LAGOS
                           5

                           6                                          By:      /s/ Lagos, Panos
                                                                            Panos Lagos, Esq.
                           7                                                Attorney for Plaintiff,
                                                                            JORDAN EDWARD BRANSCUM
c..                        8
..J
..J                            Dated: February 3, 2016                MCNAMARA, NEY, BEATTY, SLATTERY,
0::                        9                                          BORGES & AM BACHER LLP
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u                                                                     By:      /s/ Blechman. Noah
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CCI                                                                         James V. Fitzgerald, III I Noah G. Blechman
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            "'            11                                                Attorneys for Defendants
~           ..."'"'                                                         SAN RAMON POLICE DEPARTMENT, CHIEF
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tll         "'<o          12                                                SCOTT HOLDER, CITY OF SAN RAMON,
0           u...,
0::              . l"'l                                                     OFFICER PAUL BURKE, OFFICER JOSEPH NUNN,
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CCI<~::;                  13                                                OFFICER T J REEDER, OFFICER JONATHAN
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            <>: "'                                                          STEPHENS and OFFICER STANLEY SZETO
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                          15                                                    ORDER
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f-<(<'IW                  16   PURSUANT TO STIPULATION AND REQUEST, IT IS ORDERED AS FOLLOWS:
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w           oE-                        The Court hereby dismisses this entire action, as to all claims and Defendants, with
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tll
                          18   prejudice. Each party bears its own fees and costs as to this dismissal.
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0::                       19           IT IS SO ORDERED
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zt.)

~                                     February
                               Dated: _ ___    4 _ , 2016
                          21

                          22
                                                                                Hon. Laurel Beeler
                          23                                                    United States Magistrate Judge

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                               STIPULATION AND ORDER TO DISMISS ENTIRE ACTION      2
                               WITH PREJUDICE- CI 1-04137 LB
